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 9                                  IN THE UNITED STATES DISTRICT COURT

10                                     EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                             CASE NO. 2:08-CR-427 MCE

13                                 Plaintiff,              STIPULATION AND PROPOSED ORDER TO
                                                           CONTINUE SENTENCING OF SHUSHANIK
14                          v.                             MARTIROSYAN

15   SHUSHANIK MARTIROSYAN,

16                                Defendant.

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18          As the Court is aware, the sentencing for a number of defendants in this case has been repeatedly

19   continued due to cooperation agreements and the trial of the remaining defendant, Emilio Cruz, which was

20   set for November 2013. On September 12, 2013, Cruz pleaded guilty and trial was vacated. This

21   development was sudden, and while there is no remaining impediment to sentencing defendant Martirosyan

22   (or the other defendants) the parties wish more time than the current date provides to address lingering issues

23   in advance of sentencing. The parties, however, consider the proposed new date to be firm.

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 1          For that reason, IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES, through their

 2   counsel of record, that the Judgment and Sentencing scheduled for September 26, 2013 at 9:00 a.m. be

 3   continued to October 24, 2013 at 9:00 a.m. in the same courtroom.

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 5   Dated: September 17, 2013                               BENJAMIN B. WAGNER
                                                             United States Attorney
 6

 7                                                           /s/ Jean M. Hobler
                                                             JEAN M. HOBLER
 8                                                           Assistant United States Attorney

 9   Dated: September 17, 2013
                                                             /s/ Daniel V. Behesnilian
10                                                           DANIEL V. BEHESNILIAN
                                                             Counsel for Defendant
11                                                           SHUSHANIK MARTIROSYAN
                                                             (authorized Sept. 17, 2013)
12
                                                      ORDER
13
            IT IS SO ORDERED.
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     Dated: September 23, 2013
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